IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF TENNESSEE

AT KNOXVILLE

DAIRYLAND INSURANCE )
COMPANY, )
)
Plaintiff, )
)

vs. ) Case No. : 3:07-CV-263
)
DIXIE LEONARD JOHNSON, )
DUSTIN E. SIMPSON, and )
TENNESSEE FARMERS MUTUAL )
INSURANCE COMPANY, )
)
Defendants. )

DEFAULT JUDGMENT

 

Defendant Dixie Leonard Johnson, having failed to plead or otherwise defend in this action,
and default having heretofore been entered; upon application of plaintiff and upon affidavit that
defendant Johnson is not entitled to coverage for damages for personal injury to Dustin E. Simpson
under the insurance policy issued to Dixie Leonard Johnson by the plaintiff; that the defendant had
been defaulted for failure to appear pursuant to Rule 55(a) of the Federal Rules of Civil Procedure;
and that the claim is for a determination that the plaintiff is not responsible for the claimed bodily
injuries of Dustin E. Simpson under the provisions of the insurance policy issued to defendant Dixie
Leonard Johnson; it is hereby

ORDERED, ADJUDGED and DECREED that plaintiff Dairyland Insurance Company is
not responsible for the claimed bodily injuries of Dustin E. Simpson under the provisions of the
insurance policy issued to defendant Dixie Leonard Johnson.

ENTER: W

s/ Thornas W. Phillins
United States District Judge

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